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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO: 22-CV-81294-AMC

  DONALD J. TRUMP,

        Plaintiff,

        v.

  UNITED STATES OF AMERICA,

        Defendant.
  _______________________________/

                                     MOTION TO FILE
                            LOG AND COVER LETTER UNDER SEAL

          The United States of America, through the undersigned attorneys assigned to its Privilege

  Review Team, respectfully move this Court to file under seal a cover letter to the Special Master

  and an attached log (Attachment A), which is made by the parties pursuant to the Amended Case

  Management Plan. (See DE:112 at pg. 4). 1 These documents should be sealed because they refer,

  in part, to documents that have been designated potentially privileged. See DE:91 at ¶ 9 (directing

  Special Master to file under seal any potentially privileged . . . material that is submitted to be filed

  under seal).

          WHEREFORE, the United States respectfully request permission to file later today on




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            The United States consulted with Plaintiff’s counsel on October 3, 2022, and counsel
  agree that the letter and attachment should be filed under seal. The parties further agree that the
  letter should be unsealed if so ordered by the Court, once a final determination has been made on
  issues related to the attorney-client privilege and attorney work product doctrine.
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  behalf of both parties a joint cover letter to the Special Master, with an attached log.

                                                 Respectfully submitted,

                                                 JUAN ANTONIO GONZALEZ
                                                 UNITED STATES ATTORNEY


                                             By: /s/Anthony W. Lacosta
                                                 Anthony W. Lacosta
                                                 Managing Assistant United States Attorney - WPB
                                                 Court. No. A5500698
                                                 500 S. Australian Avenue (4th Floor)
                                                 West Palm Beach, Florida 33132
                                                 Ph: (561) 209-1015
                                                 email: anthony.lacosta@usdoj.gov


                                                   /s/Benjamin J. Hawk_____________
                                                   Benjamin J. Hawk
                                                   Deputy Chief for Export Control and Sanctions
                                                   National Security Division
                                                   950 Pennsylvania Avenue, NW
                                                   Washington, D.C. 20530
                                                   New Jersey Bar No. 030232007
                                                   Ph: (202) 307-5176
                                                   Email: Benjamin.Hawk@usdoj.gov


                                    CERTIFICATE OF SERVICE
          I HEREBY CERTFIY that on October 3, 2022, I electronically filed the foregoing
  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document
  is being served this day on all counsel of record via transmission of Notices of Electronic Filing
  generated by CM/ECF.
                                                   /s/Anthony W. Lacosta
                                                   Anthony W. Lacosta
                                                   Managing Assistant United States Attorney - WPB
                                                   Court. No. A5500698
                                                   500 S. Australian Avenue (4th Floor)
                                                   West Palm Beach, Florida 33132
                                                   Ph: (561) 209-1015
                                                   email: anthony.lacosta@usdoj.gov


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